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                                                                                                                             Last revised 8/1/15
                                                      UNITED STATES BANKRUPTCY COURT
                                                                 New Jersey
 IN RE:            Fred E Okafor                                                           Case No.:
                                                                                           Judge:
                                                                Debtor(s)                  Chapter:                   13



                                                             CHAPTER 13 PLAN AND MOTIONS


    Original                                                         Modified/Notice Required          Discharge Sought
    Motions Included                                                 Modified/No Notice Required       No Discharge Sought

 Date:         1/13/17

                                                   THE DEBTOR HAS FILED FOR RELIEF UNDER
                                                    CHAPTER 13 OF THE BANKRUPTCY CODE.


                                                            YOUR RIGHTS WILL BE AFFECTED.

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the actual
Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss them with
your attorney. Anyone who wishes to oppose any provision of this Plan or any motion included in it must file a
written objection within the time frame stated in the Notice. This Plan may be confirmed and become
binding, and included motions may be granted without further notice or hearing, unless written
objection is filed before the deadline stated in the Notice.


                           YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                            IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                         THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM

 Part 1: Payment and Length of Plan

        a. The Debtor shall pay $ 500.00 Monthly to the Chapter 13 Trustee, starting on January 2017 for
 approximately 60 months.


             b. The Debtor shall make plan payments to the Trustee from the following sources:
                           Future Earnings
                           Other sources of funding (describe source, amount and date when funds are available):




                                                                                    1
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             c. Use of real property to satisfy plan obligations:
                            Sale of real property
                            Description:
                            Proposed date for completion:

                                      Refinance of real property
                                      Description:
                                      Proposed date for completion:

                                      Loan modification with respect to mortgage encumbering property
                                      Description: **190 Suydan Street, New Brunswick, NJ
                                                   ** 180 Suydan Street, New Brunswick, NJ
                                                   ** 99 Beekman Lane, Hillsborough, NJ

                                      Proposed date for completion:                      Within 6 months of
                                                                                         confirmation of plan

             d.                       The regular monthly mortgage payment will continue pending the sale, refinance or
                                      loan modification.
             e.                       Other information that may be important relating to the payment and length of plan:


 Part 2: Adequate Protection
        a. Adequate protection payments will be made in the amount of $                                     to be paid to the Chapter 13
 Trustee and disbursed pre-confirmation to    (creditor).

        b. Adequate protection payments will be made in the amount of $                                     to be paid directly by the
 debtor(s) outside of the Plan, pre-confirmation to (creditor).

 Part 3: Priority Claims (Including Administrative Expenses)

             All allowed priority claims will be paid in full unless the creditor agrees otherwise:

 Creditor                                                              Type of Priority                                        Amount to be Paid
 Trustee                                                               administrative expenses                                        $ unknown
 Goldman & Beslow, LLC                                                 attorney fees/costs                                     approx. $2,000.00
]
 Part 4: Secured Claims
 Part 4: Secured Claims

               a. Curing Default and Maintaining Payments

          The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly
 obligations and the Debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the
 bankruptcy filing as follows:
                                                                                                    Interest Amount to be Paid   Regular Monthly
                                                                                                    Rate on     to Creditor (In Payment (Outside
 Creditor                                   Collateral or Type of Debt                Arrearage   Arrearage              Plan)             Plan)




                                                                                  2
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 Mortgage Service Center                    1st mortgage arrears re:                    $ 23,004.08              to be paid through    $700.00 per loss
                                            190 Suydan Street, New                                                loan modification     mitigation order
                                            Brunswick, NJ

                                            1st mortgage arrears re: 99                 $ 59,495.11              to be paid through
 NationsStar                                Beekman Lane,                                                         loan modification   $2500.00 per loss
                                            Hillsborough, NJ                                                                            mitigation order


                                            1st mortgage arrears re:                    $ 47,596.51              to be paid through      $ 2,000.00 per
 Seterus                                    180 Suydan Street, New                                                loan modification      loss mitigation
                                            Brunswick, NJ                                                                                          order




               b. Modification

         1.) The Debtor values collateral as indicated below. If the claim may be modified under Section
 1322(b)(2), the secured creditor shall be paid the amount listed as the "Value of the Creditor Interest in
 Collateral," plus interest as stated. The portion of any allowed claim that exceeds that value shall be treated
 as an unsecured claim. If a secured claim is identified as having "NO VALUE" it shall be treated as an
 unsecured claim.

                                       NOTE: A modification under this section ALSO REQUIRES
                                     the appropriate motion to be filed under Section 7 of the Plan.

                                                                                                                   Value of
                                                                                           Total                   Creditor       Annual Total
                                                                     Scheduled        Collateral      Superior    Interest in    Interest Amount to
 Creditor                        Collateral                               Debt            Value         Liens     Collateral        Rate Be Paid


        2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the
 allowed secured claim shall discharge the corresponding lien.


         c. Surrender
         Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the
 following collateral:
 Creditor                                                Collateral to be Surrendered                 Value of Surrendered      Remaining Unsecured
                                                                                                                 Collateral                    Debt
 -NONE-




             d. Secured Claims Unaffected by the Plan

                   The following secured claims are unaffected by the Plan:
 Creditor
 -NONE-

 e. Secured Claims to be paid in full through the Plan
 Creditor                                                      Collateral                                    Total Amount to be Paid through the Plan




                                                                                  3
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 Part 5: Unsecured Claims

             a. Not separately classified Allowed non-priority unsecured claims shall be paid:
                          Not less than $     to be distributed pro rata

                     XX               Not less than 100               percent

                                      Pro Rata distribution from any remaining funds

             b. Separately Classified Unsecured Claims shall be treated as follows:
 Creditor                                                Basis for Separate Classification           Treatment                         Amount to be Paid
                                                         non-dischargeable student                                                 to be treated outside
 Federal Loan                                            loans                                       to be paid outside plan                        plan

 Part 6: Executory Contracts and Unexpired Leases

             All executory contracts and unexpired leases are rejected, except the following, which are assumed:

 Creditor                                                Nature of Contract or Lease                 Treatment by Debtor
 -NONE-

 Part 7: Motions

 NOTE: All plans containing motions must be served on all potentially affected creditors, together with
 local form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J.
 LBR 3015-1. A Certification of Service must be filed with the Clerk of Court when the plan and
 transmittal notice are served.


             a. Motion to Avoid Liens under 11 U.S.C. Section 522(f).
             The Debtor moves to avoid the following liens that impair exemptions:

                                                                                                                             Sum of All
                                                                                                            Amount of       Other Liens
                          Nature of                                                           Value of        Claimed       Against the Amount of Lien
 Creditor                 Collateral              Type of Lien        Amount of Lien         Collateral     Exemption          Property to be Avoided
 -NONE-

             b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured.

        The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral
 consistent with Part 4 above:


 Creditor                                                      Collateral                                               Amount of Lien to be Reclassified




         c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and
 Partially Unsecured.

         The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and
 to void liens on collateral consistent with Part 4 above:

                                                                                  4
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                                                                                                                              Amount to be
                                                                                                 Amount to be Deemed         Reclassified as
 Creditor                                                Collateral                                           Secured            Unsecured
 -NONE-


 Part 8: Other Plan Provisions
        a. Vesting of Property of the Estate
               Upon Confirmation
               Upon Discharge

       b. Payment Notices
       Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or
 coupons to the Debtor notwithstanding the automatic stay.


             c. Order of Distribution

             The Trustee shall pay allowed claims in the following order:
                    1)   Trustee Commissions
                    2)   Other Administrative Claims- including attorney
                                   fees
                          3)       Priority Claims
                          4)       Secured Claims
                          5)       Lease Arrearages
                          6)       General Unsecured Claims


             d. Post-petition claims

       The Trustee is, is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
 1305(a) in the amount filed by the post-petition claimant.


Part 9 : Modification
        If this plan modifies a plan previously filed in this case, complete the information below.
Date of Plan being modified:        .
Explain below why the Plan is being modified.                 Explain below how the Plan is being modified

 Are Schedules I and J being filed simultaneously with this modified                                 Yes                No
 Plan?

 Part 10: Sign Here

             The debtor(s) and the attorney for the debtor (if any) must sign this Plan.

                Date            1/13/17                                       \s\ David Beslow
                                                                              David Beslow, Esq. 5300
                                                                              Attorney for the Debtor

             I certify under penalty of perjury that the foregoing is true and correct.

                Date: 1/13/17                                                 \s\ Fred Okafor
                                                                              Fred E Okafor
                                                                              Debtor
                                                                                5
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                Date:
                                                                             Joint Debtor




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